
ORDER
Considering the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Alfred Foster Sanders, III, Louisiana Bar Roll number 11693, and the concurrence thereto filed by the Office of Disciplinary Counsel,
IT IS ORDERED that the request of Alfred Foster Sanders, III for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1.
IT IS FURTHER ORDERED that Alfred Foster Sanders, III shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
IT IS FURTHER ORDERED that the proceedings in 03-B-2413 be dismissed as moot.
/s/ Catherine D. Kimball
Justice, Supreme Court of Louisiana
